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                                                           May 8, 2025

              Via Email
              Catherine O’Hagan Wolfe
              Clerk of Court
              United States Court of Appeals for the Second Circuit
              Thurgood Marshall United States Courthouse
              40 Foley Square
              New York, NY 10007-1312

              Re:​      Genius Group Limited v. LZG International. Inc., et al., Appeal No. 25-630;
                        Proposed Briefing Schedule

              Dear Clerk of Court:

              We represent Petitioner-Appellant Genius Group Limited (“Appellant”) in the above-referenced
              appeal. We write pursuant to this Court’s Order entered on May 7, 2025, ECF 26 (“Order”),
              which directed the parties to consult with the Clerk’s Office regarding setting a briefing schedule,
              and to respectfully request that the Court adopt the Parties’ proposed briefing schedule.

              After conferring with Appellee’s counsel, on May 6, 2025, the Parties agreed to the following
              proposed briefing schedule:

                        (i) Appellant’s opening brief to be filed on or before June 26, 2025;
                        (ii) Appellees’ responsive brief to be filed on or before August 25, 2025; and
                        (iii) Appellant’s reply brief to be filed on or before September 24, 2025.
              Further, Appellant requests that the Court schedule oral argument immediately after Appellees’
              Reply brief is filed, based on the Courts’ availability. Appellant respectfully requests that the
              Court adopt the foregoing proposed briefing schedule. We thank the Court for its attention to
              this matter.
                                                          Respectfully submitted,
                                                          THE BASILE LAW FIRM P.C.
                                                          /s/ Mark R. Basile, Esq.​
                                                          Mark R. Basile, Esq.
                                                          390 N. Broadway, Suite 140
                                                          Jericho, NY 11753
                                                          Tel.:​     (516) 455-1500
                                                          Fax:​      (631) 498-0478
                                                          Email:​    mark@thebasilelawfirm.com
                                                          Counsel for Petitioner-Appellant Genius Group Limited
